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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISON
                                        )
                                        )  Chapter 7
IN RE: Jewel Elaine Jackson
                                        )
                                        )  Case No.: 14-06091
                     Debtor(s).
                                        )
                                        )   James M. Carr

                           NOTICE OF CHANGE OF CREDITOR’S ADDRESS

   To the court: The correct address for the following creditor is as follows:

   Harris & Harris LTD
   222 Merchandise #6117
   Chicago, IL 60654

   To the Listed Creditor: You are listed as a creditor in this case, but the original address
   was incorrect or missing. Accompanying this notice are the following documents:

              X          Notice of meeting of creditors with debtor’s full social security number
                         Plan or amended plan dated:
              ⁫          Notice of bar date
              ⁫          Notice of confirmation hearing
              X          Other: none

              Dated this Thursday, July 24, 2014.
                                                            Respectfully submitted,

                                                            By: _/s/ Thomas Barbour____
                                                                Thomas Barbour
                                                                55 E. Monroe, #3400
                                                                Chicago, IL 60603
                                                                Phone:(312) 332-1800
                                                                Fax: (877) 247-1960
                                                                E-mail: inn@geracilaw.com




   Rec. No: 575462
   WD - NOT - Change of Creditors Address
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                                            CERTIFICATE OF SERVICE

        The undersigned, an Attorney, does hereby certify that a copy of this Certificate
 of Service and a copy of the attached Notice of Change of Creditor’s Address were
 mailed First Class to the persons mentioned below, at their respective addresses, postage
 prepaid, by placing a copy in the U.S. Mail on Thursday, July 24, 2014:


 Harris & Harris LTD
 222 Merchandise #6117
 Chicago, IL 60654


       Additionally, the documents referenced above were also served via electronic
 means on the following individuals on Thursday, July 24, 2014:

 United States Trustee                                              Thomas A. Krudy
 Southern District of Indiana                                      236 E. 15th St.
 101 W. Ohio St., Ste. 1000
 Indianapolis, IN 46204                                            Indianapolis, IN 46202


 Dated this Thursday, July 24, 2014.

                                                          By: _/s/ Thomas Barbour____
                                                              Thomas Barbour
                                                              55 E. Monroe, #3400
                                                              Chicago, IL 60603
                                                              Phone:(312) 332-1800
                                                              Fax: (877) 247-1960
                                                              E-mail: inn@geracilaw.com




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